Case 3:08-cr-00268-B          Document 126         Filed 11/25/08        Page 1 of 9      PageID 273



                             UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION


UNITED STATES OF AMERICA,                          §
                                                   §
        Plaintiff,                                 §
                                                   §
v.                                                 §    CIVIL ACTION NO. 3:08-CR-0268-B
                                                   §
DARREN REMERO PRICE (09),                          §
                                                   §
        Defendant.                                 §

                                MEMORANDUM ORDER
                         SANCTIONING ATTORNEY CURTIS LILLY

        The conduct of Defendant Darren Price’s (hereinafter, “Price”) former attorney, Curtis Lilly

(hereinafter, “Lilly”), is the subject of this Order. Specifically, the query before the Court is whether

Lilly violated his duty of good faith and candor to the tribunal by making misrepresentations to the

Court regarding his representation of Price. Having considered the evidence, including testimony

from Price, visitation logs from the Federal Correctional Institute, and prior filings with this Court,

the Court finds that Lilly made misrepresentations to the Court in bad faith, violating his professional

obligations to Price and this Court. So finding, the Court sanctions Lilly as set forth below.

                                        I. BACKGROUND

        Price was indicted on September 3, 2008 on one count of conspiracy to possess a controlled

substance with intent to distribute in violation of 21 U.S.C. § 846. (Indictment.) Based upon his

financial affidavit, the Court determined that Price could not afford counsel and appointed assistant

federal public defender Kevin Ross to represent him. Price, however, decided that he would fare

better with retained counsel and hired Lilly with $1700.00 in funds he accumulated by pawning

                                                  -1-
Case 3:08-cr-00268-B           Document 126          Filed 11/25/08        Page 2 of 9       PageID 274



numerous family possessions. Price engaged Lilly’s services on September 25, 2008, as evidenced by

his signature on his Unopposed Motion to Substitute Counsel (doc. 98).

        The Court’s concerns about Lilly’s proficiency as an advocate for Price were triggered by

Price’s handwritten Motion to Withdraw Counsel (hereinafter, the “Motion”) filed on November

4, 2008. Price claimed that he had not seen nor heard from Lilly since he paid him the $1,700.00.

Price further alleged that Lilly was routinely refusing to accept his calls from the Federal Correctional

Institution. Price asked the Court to order Lilly to reimburse Price the $1,700.00 fee. Concerned with

these allegations, the Court contacted Lilly telephonically and advised him that a hearing would be

set on the Motion for November 12, 2008.1 The Court followed up with a written order which was

e-mailed to Lilly’s e-mail account of record. There was no indication in the Court’s e-mail system

that Lilly did not receive the e-mail notice.

        Lilly failed to appear for the proceeding. Price, visibly frustrated at the hearing, reiterated the

allegations made in his Motion. It was only after the Court concluded the proceedings that Lilly

called the Court. Lilly insisted he had mistakenly scheduled the hearing for the wrong date. Court

staff again informed Lilly that he would be required to appear in Court on a date to be specified in

a forthcoming order. The Court, that day, issued an Order to Show Cause (doc. 122), directing Lilly

to appear on November 18, 2008 and explain his failure to appear.

        The day the show cause hearing was to occur, court staff telephoned Lilly to inform him that

the hearing would be held before the Honorable Paul D. Stickney. Judge Stickney convened the


        1
          Prior to setting a hearing on the Motion, Lilly was instructed to file a response for the Court’s
consideration. Lilly objected to filing a response, claiming that doing so would give Price’s co-defendants
access to confidential information. Court personnel then verbally informed Lilly that a hearing would be
set for the Motion via a forthcoming order.

                                                   -2-
Case 3:08-cr-00268-B           Document 126           Filed 11/25/08        Page 3 of 9       PageID 275



show cause hearing at 2:00 p.m. that afternoon. Lilly, though tardy, appeared as the Court directed.

Lilly opened by maintaining, on the record, that he had not received electronic notice of either the

November 12 or November 18 hearings.2 According to Lilly, he was only made aware of the hearings

when court personnel phoned his office. This was the only excuse provided for his failure to appear

on November 12 as well as his tardiness to the hearing in progress.

        Although Lilly did not object to being removed from Price’s case, he denied Price’s allegations

in his Motion to Withdraw Counsel. When asked to elaborate, Lilly stated numerous times to Judge

Stickney that he had visited Price in prison on four or five occasions since Price retained his services.

Attempting to clarify this contradiction for the record, Judge Stickney had the following exchange

with Lilly:

        THE COURT: Now, you didn’t get on this case until September 30th.

        MR. LILLY: Yes, that is correct.

        THE COURT: So in the last 45 days, you are telling me that you have seen Mr. Price
        at least four times?

        MR. LILLY: That is correct.

(Show Cause Hr’g Tr. 12, Nov. 18, 2008.)

        Upon hearing this testimony, Judge Stickney ordered Lilly to provide the Court with proof

of, inter alia, his in-prison visits with Price within twenty-four hours. The following day, November

19, 2008, this Court held a hearing to take the requested evidence from Lilly. Sign-in logs from the

facility where Price is incarcerated reflected that Lilly visited the prison on only two occasions -


        2
          The Electronic Case Filing system, adopted nation-wide by the United States District Courts,
notifies attorneys of filings in an action by sending an e-mail correspondence with the filing attached. It is
these e-mails which Lilly insisted he had not received.

                                                    -3-
Case 3:08-cr-00268-B           Document 126           Filed 11/25/08        Page 4 of 9        PageID 276



September 19 and 25 - and not four or five dates as he claimed. Moreover, Price testified, and his

Motion to Substitute Counsel (doc. 98) established, that the two entered into the attorney-client

relationship on Lilly’s last visit to the prison, September 25, 2008. This substantiated Price’s

assertions that Lilly had not returned to see him since being retained. The Court pressed Lilly about

this discrepancy, as the previous day Lilly had testified in front of Judge Stickney that he saw Price

in person on no less than four occasions since he was added to the case. Lilly was unable to provide

reasons for this contradiction and appeared to be grasping for answers such as that on one occasion

he drove to the facility but was unable to see Price because visiting hours had ended. The Court then

turned to Lilly’s attendance issues at the prior hearings. Lilly vacillated as to when and how he was

receiving notice of the scheduled hearings. Reasserting that he never received his electronic

notifications of the hearings, Lilly was unable to explain how this representation reconciled with his

previous statement to the Court, when contacted telephonically, that he missed the hearing because

he scheduled it for the wrong day.3 Lilly was not credible in demeanor or in substance. In contrast,

Price staunchly reaffirmed the statements made in his handwritten Motion.

        In concluding the proceedings, the Court, relying on its inherent powers, sanctioned Lilly by

ordering him to refund $1,500.00 of the $1700.00 fee to Price by November 26, 2008. In doing so,

the Court, on the record, found Price’s - as opposed to Lilly’s - testimony to be credible. As a basis

for the sanction, the Court additionally determined and now explicitly finds that Lilly, in bad faith,


        3
         Indeed, because all hearing dates were set by order, Lilly would necessarily had to have received
electronic notification to know to calendar a date, even if he ultimately calendared the incorrect date.
Moreover, despite Lilly’s repeated claim that he was not receiving electronic notifications, he stated, on
the record, that he did receive the e-mail notice informing discovery was available in Price’s case. This
discrepancy, coupled with the fact that the clerk’s office never received notices of un-deliverability raises
additional questions as to the veracity of Lilly’s representations.

                                                    -4-
Case 3:08-cr-00268-B          Document 126         Filed 11/25/08        Page 5 of 9      PageID 277



lied to the Court about his conduct. The Court’s inherent authority to sanction bad faith conduct

provides a sound basis for the ordered reimbursement as fully explained below.

                                           II. ANALYSIS

        Federal courts have the inherent authority to manage their own affairs so as to achieve the

orderly and expeditious disposition of cases. Chambers v. NASCO, Inc., 501 U.S. 32, 43-5 (1991).

Toward that end, federal courts are empowered to sanction bad faith conduct occurring throughout

the prosecution of an action. Id. at 45. It goes without saying that lying to the Court constitutes bad

faith. See generally id. at 42, 46, 50-1 (upholding the district court’s use of its inherent authority to

sanction bad faith conduct which included “misleading and lying to the court”).

        Coextensive with the inherent authority to mete out sanctions is the requirement that these

implied powers be exercised with restraint and discretion. Id. at 44 (citing Roadway Express v. Piper,

447 U.S. 752, 764 (1980)). Inherent powers “may be exercised only if essential to preserve the

authority of the court and the sanction must employ” the least possible power adequate to the

purpose to be achieved. Natural Gas Pipeline of Am. v. Energy Gathering, Inc., 86 F.3d 464, 467 (5th

Cir. 1996). In other words, the sanction must “be tailored to fit the particular wrong.” Topalian v.

Ehrman, 3 F.3d 931, 936 n.5 (5th Cir. 1993) (extending the analytical principles for determining

sanctions under FED . R. CIV . P. 11 “across-the-board” to all of the district court’s sanctioning

powers). Appropriate factors to consider in determining the amount of a sanction award include:

1.) the precise conduct being punished; 2.) the precise expenses caused by the violation; 3.) the

reasonableness of the fees imposed; and 4.) the least severe sanction adequate to achieve the purpose

of the rule relied upon to impose the sanction. Id. at 936.

        The Court finds that a refund of $1,500.00 of the initial $1700.00 fee to be the least severe

                                                  -5-
Case 3:08-cr-00268-B          Document 126          Filed 11/25/08       Page 6 of 9       PageID 278



sanction appropriate under the circumstances for the reasons that follow. Lilly took all of the

proceeds Price earned from pawning his possessions and left Price in jail awaiting word on his case.

Had Price not written his note to the Court, he might still be wondering what became of Lilly and

what was going on with his case. When called on his behavior, Lilly lied to the Court. Dishonesty

towards the tribunal is among the most egregious of sanctionable conduct. conduct committed by

lawyers. The serious nature of such conduct is exemplified in the American Bar Association’s Model

Rules of Professional Conduct which command that “a lawyer shall not knowingly ... make a false

statement of law or fact to a tribunal or fail to correct a false statement of material fact or law

previously made to the tribunal by the lawyer ....” MODEL RULES OF PROF’L CONDUCT R. 3.3(a)(1);

see also TEX . DISCIPLINARY RULES OF PROF’L CONDUCT R. 3.03(a)(1) (“A lawyer shall not knowingly

... make a false statement of material fact or law to a tribunal”).

        As set forth supra, Lilly made numerous misrepresentations to the Court, and failed to correct

them even when questioned by a United States Magistrate Judge and a United States District Judge

at two separate hearings. Lilly specifically denied Price’s allegation that Lilly had not visited Price in

prison since being retained. Indeed, when pressed by Judge Stickney, Lilly insisted, time and again,

that he had physically visited with Price in prison on no less than four occasions since being retained

as counsel. Price strongly and credibly denied Lilly’s version of events, maintaining that the last time

he had seen Lilly was the date he signed the papers to employ him. Price’s version of events is

corroborated by the sign in logs at the federal correctional facility, as the final date Lilly is

documented to have visited the prison is September 25, 2008. Further, Price’s Motion to Substitute

Counsel bears Price’s signature, dated September 25, 2008, again coinciding with Price’s account of

events. The records and filings with this Court, therefore, substantiate the fact that Lilly’s version

                                                  -6-
Case 3:08-cr-00268-B          Document 126         Filed 11/25/08       Page 7 of 9      PageID 279



of events are not truthful.

        Also of concern are the resources the federal judiciary expended on what should normally

be a relatively simple matter. Because of Lilly’s failure to appear at the first hearing, the Court was

compelled to hold two additional hearings to adequately assess the veracity of Lilly’s representations.

In addition to utilizing the time of the judges and their staffs, each time a hearing was held the

United States Marshall’s had to transport Price from the facility where he was incarcerated to the

courthouse in Dallas. Moreover, composing a sanctions order of this nature is another drain on the

Court’s resources - a time-consuming effort that does nothing to advance the case on its merits.

        Finally, Lilly violated his professional duty to his client. Lilly maintained to the Court that

he satisfied his obligations as an attorney by indirectly communicating with Price through Price’s

wife. Lilly insisted that he was giving constant updates to Price’s wife, asking her to deliver the

information to Price. The Court is highly skeptical as to whether this claim is genuine, given that

Price credibly testified that he failed to receive information from any source, not just Lilly. However,

even assuming Lilly did deliver information to Price’s wife, such conversations are insufficient to

satisfy Lilly’s obligations as Price’s attorney. MODEL RULES OF PROF’L CONDUCT R. 1.4(a) provides:

        (a) A lawyer shall:

                ....

                (2) reasonably consult with the client about the means by which the client’s
                objectives are to be accomplished;

                (3) keep the client reasonably informed about the status of the matter;

                (4) promptly comply with reasonable requests for information ....

(emphasis added); see also TEX . DISCIPLINARY RULES OF PROF’L CONDUCT R. 1.03(a) (“A lawyer


                                                 -7-
Case 3:08-cr-00268-B          Document 126          Filed 11/25/08       Page 8 of 9       PageID 280



shall keep a client reasonably informed about the status of a matter and promptly comply with

reasonable requests for information.”). By the plain terms of the rule, Lilly should have been

communicating directly with Price as opposed to relying on third parties to deliver the information.

Moreover, by refusing to accept calls from Price, Lilly is clearly in violation of section (a)(4), which

requires a prompt response to any request for information. Perhaps most troubling is that all of this

resulted from Lilly taking what - from Price’s viewpoint - was a fortune, only to stop communicating

with him and refusing to take his calls.

        For the foregoing reasons and the reasons stated on the record at the November 19, 2008

hearing, the Court is of the opinion that a sanction of $1,500.00 - which represents the original

$1700.00 fee minus $200.00 for the meeting when Price retained Lilly - is the least severe possible

to maintain the Court’s “power to impose silence, respect, and decorum, in [its] presence, and

submission to [its] lawful mandates.” Chambers, 501 U.S. at 43. An un-sanctioned bad faith

misrepresentation carries with it the ability to destroy the Court’s status as a hall of justice.

Furthermore, the present misrepresentations deal with an attorney’s failure in his duty toward his

client. In retaining Lilly’s services, Price put his fate in Lilly’s hands. Once this exchange took place,

Lilly failed Price. Such action cannot be tolerated.

                                         III. CONCLUSION

        For the reasons stated herein, as well as on the record at the November 19, 2008 hearing, the

Court ORDERS Lilly to reimburse Price in the amount of $1,500.00. Payment should be made by

check payable to the Kevin Ross on behalf of Darren Remero Price and delivered to the District

Clerk’s Office, 1100 Commerce Street, 14th floor, Dallas, Texas and is due no later than 12:00 noon

on November 26, 2008. Should Lilly fail to comply with the foregoing directive, he will be subject

                                                  -8-
Case 3:08-cr-00268-B       Document 126        Filed 11/25/08   Page 9 of 9   PageID 281



to sanctions up to and including contempt of court.

       SO ORDERED.

       SIGNED November 25, 2008


                                            _________________________________
                                            JANE J. BOYLE
                                            UNITED STATES DISTRICT JUDGE




                                              -9-
